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                                         U.S. Department of Justice
[Type text]
                                                        United States Attorney
                                                        Southern District of New York

                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007



                                                        May 14, 2018

BY ECF

Honorable Richard M. Berman
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

Dear Judge Berman:

        The Government writes to correct an error in its April 4, 2018 sentencing submission. The
submission described a 3-level enhancement pursuant to Section 3C1.1 of the Sentencing
Guidelines for the defendant’s obstruction of justice, but the enhancement under Section 3C1.1 is
a 2-level increase.

        This correction does not affect the properly calculated Guidelines range in this case. The
change from a 3-level to a 2-level enhancement results in a total offense level of 53 rather than 54.
Pursuant to Chapter 5, Part A, cmt. n. 2, this is treated as a total offense level of 43, corresponding
to a sentencing range limited by the applicable statutory maximums to a term of 105 years’
imprisonment. The correction would affect the so-called “alternate” sentence range pursuant to
Section 2S1.1(a)(1), resulting in an alternate total offense level of 35 rather than 36, corresponding
to an alternate sentencing range of 168 to 210 months’ imprisonment.

        This change does not affect the Government’s analysis of the sentencing factors or its
position on the appropriate sentence as set forth in the April 4, 2018 sentencing submission.

                                                 Respectfully submitted,

                                                 GEOFFREY S. BERMAN
                                                 United States Attorney

                                           by:       /s/
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                                                 David W. Denton, Jr.
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